            Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 1 of 23




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
       v.                                  :
                                           :       1:21-cr-399-RDM
ROMAN STERLINGOV                           :
                                           :

         ROMAN STERLINGOV’S MOTION, PURSUANT TO 18 U.S.C. § 3145(b)
              FOR REVOCATION OF HIS PRETRIAL DETENTION

        On June 23, 2021, Magistrate Judge Paul M. Abrams of the United States District Court

for the Central District of California ordered Mr. Sterlingov detained before trial. Mr. Sterlingov

now respectfully moves this Court, pursuant to 18 U.S.C. § 3145(b), for de novo review and

revocation of that detention order. 1 For the reasons discussed below, Mr. Sterlingov does not

present a serious flight risk and there are less restrictive measures than pretrial detention that will

reasonably assure his future appearances in this Court. Indeed, D.C.’s Pretrial Services Agency

has fashioned a comprehensive program of electronic monitoring, supervision, and intensive case

management for higher risk defendants – the High Intensity Supervision Program (“HISP”) – that,

together with any other conditions the Court sees fit to impose, will reasonably assure Mr.

Sterlingov’s future court appearances. Accordingly, the Magistrate Judge’s detention order should

be revoked in favor of a comprehensive set of restrictive conditions.

                                   PRELIMINARY STATEMENT

        Defendant Roman Sterlingov is charged with operating an unlicensed money transmitting

business – specifically, Bitcoin Fog, an online Bitcoin tumbler or mixing service – which was then


1
  18 U.S.C. § 3145(b) provides: “Review of a detention order. If a person is ordered detained by a
magistrate, or by a person other than a judge of a court having original jurisdiction over the offense and
other than a Federal appellate court, the person may file, with the court having original jurisdiction over the
offense, a motion for revocation or amendment of the order. The motion shall be determined promptly.”


                                                      1
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 2 of 23




purportedly misused to by others to launder money (as well as for licit transactions). Notably, the

Indictment only charges Mr. Sterlingov with involvement in one improper transaction where a

small fraction of bitcoin, valued at approximately $89.83 as of the transaction date, was moved by

an unidentified “administrator” – an administrator the government baldly contends was Sterlingov

– to a wallet controlled by the government.

        The legal presumption in this case is that Mr. Sterlingov should be released. To detain

him before his trial, the government must prove, by a preponderance of the evidence, that he

poses a serious risk of flight and that no conditions exist sufficient to reasonably assure his

appearance at future court proceedings. The government cannot meet its burden of proof on

either of these two issues. 2

        While not a U.S. resident, Mr. Sterlingov is fluent in English, frequently visits the U.S.,

and has extended family in the Boston area who are close to him and are willing to serve as

third-party custodians upon his release. More importantly, he has every incentive to appear in

the District as required and vigorously defend himself against the novel, untested, and

fundamentally flawed prosecution being brought against him. None of the charges against him

carry a mandatory minimum term of incarceration, and Mr. Sterlingov strongly believes, and

intends to prove at trial, that, among other things, (i) he lacked the required intent to violate any

U.S. law; (ii) Bitcoin Fog is not within the statutory definition of a “money transmitter” and

does not require a D.C. license; and (iii) the government lacks the evidence necessary to convict

him at trial.



2
 The government does not contend – and the California Magistrate Judge did not find – that Mr. Sterlingov
poses a risk of community danger if released. See Exhibit A (Magistrate Judge’s Order of Detention) at 3.
Mr. Sterlingov is not accused of a crime of violence and has no criminal history of any kind. His detention
was predicated exclusively on flight risk. Id.


                                                    2
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 3 of 23




       Moreover, pretrial detention is not needed here. Other release conditions exist that will

reasonably assure Mr. Sterlingov’s future appearances in court. Given all this, Mr. Sterlingov is

entitled to pretrial release under the Bail Reform Act.

       In speculating that Mr. Sterlingov may flee the U.S., the government leans heavily on

the fact that he is a citizen of Russia and Sweden, with no abiding ties to the District of

Columbia. This, however, is not enough for the government to meet its burden of proof. See,

e.g., United States v. Karni, 298 F. Supp. 2d 129 (D.D.C. 2004) (ordering pretrial release of Israeli

national who resided in South Africa and had no ties to the United States); United States v. Hansen,

108 F. App’x 331 (6th Cir. 2004) (affirming pretrial release of defendant, a resident and citizen of

Denmark from where defendant could not be extradited; noting that bail statute does not “require

that foreign defendants be detained simply because their return cannot be guaranteed through

extradition”); United States v. Ng, 15-cr-706-VSB (S.D.N.Y.) (granting bail to defendant Ng who

had no ties to the United States, was not a U.S. citizen, did not speak English, had seemingly

endless wealth with which to flee, and was an older man for whom a 20-year sentence could

effectively be a life sentence). Yet, the government can point to no facts in the record showing that

Mr. Sterlingov is prepared, or has taken any concrete steps, to flee, or that he will decline to follow

the Court's orders and conditions of release. All the government proffers the Court is rank, self-

serving, and patently insufficient speculation. Further, any ostensible government concern can

readily and reasonably be addressed short of detention.

       The government already has taken away Mr. Sterlingov’s passports, and the Court may

impose other suitable conditions sufficient to secure his future appearances, including (i) the

posting of property before he is released from custody; (ii) the continued surrender of his passports

to the government; (iii) home confinement under the supervision of a responsible third-party



                                                  3
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 4 of 23




custodian while he helps his attorneys prepare his defense; (iv) 24/7 electronic GPS monitoring

of Mr. Sterlingov, along with additional, frequent in-person visits by Pretrial Services; (v) a

restriction on his contacting any consulate, whether in-person or electronically; (vi) a ban on

accessing the Internet or going online; (vii) a ban on opening new financial accounts or making

cryptocurrency transactions; and (viii) any other conditions the Court deems appropriate.

       In a similar case in this very Court, United States v. Larry Harmon, 1:19-CR-395- BAH,

the government opposed revocation of an order of detention for the same reasons it invokes here.

Per the government, Larry Harmon (i) had deep personal and financial ties to Belize, (ii) was a

defendant in a bitcoin mixing case with substantial potential penalties; and (iii) had an abundance

of money and the type of internet-savvy and darkweb connections that would allow him to flee.

This Court considered the government’s arguments, rejected them, revoked the order of detention,

and granted Mr. Harmon his release. That release was conditioned on home detention in Ohio,

location monitoring, travel restrictions, computer restrictions, internet restrictions, and

prohibitions on opening new financial accounts or making cryptocurrency transactions. See id. at

ECF Docket Nos. 20 and 21. The same result is called for here.

                                  STATEMENT OF FACTS

       A. Mr. Roman Sterlingov’s History and Characteristics

       Roman Sterlingov was born in Leningrad, USSR in 1988. His parents divorced when he

was just seven years old, and he moved with his mother to the city of Voronzeh. Life was not

easy in Russia during the 1980’s and 1990’s, and being raised by a single mother made it even

more difficult for Roman. He found his escape in school, where he worked hard, earned good

grades, and showed an early passion for math, physics, and chemistry. See Letter from Tatiana

Sterlingova, Roman’s mother (attached hereto as Exhibit B); Letter from Alexander Koziakov,

Roman’s cousin (attached hereto as Exhibit C).

                                                4
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 5 of 23




       In 2002, when Roman was 14 years old, he and his mother, Tatiana, moved to Jonkoping,

Sweden. Roman learned Swedish, proudly became a Swedish citizen, and continued applying

himself in school. His mother also adjusted to life in Sweden. She married Anders Karlsson,

became a Swedish citizen, and now works as an Assistant Master at the Jonkoping University’s

School of Health and Welfare. Tatiana Sterlingova Letter (Ex. B); see also Letter from Anders

Karlsson (attached hereto as Exhibit D) (“Roman has always been very kind and helpful, both

to his mother and to me. … I have always look at him as my own son.”)

       Attached as Exhibit E is a letter from Allyson Neuberg, the IB Diploma Coordinator at

Per Brahegymnasiet, Roman’s high school in Jonkoping. Ms. Neuberg was Roman’s teacher

for both English and Psychology and remembers him as “an ambitious student that did well in

school.” Id. She also remembers him as “kind and thoughtful student” who “was well-liked by

his friends and teachers.” Id. In high school, Roman helped tutor other students who were

having trouble in their subjects, and he got a job distributing advertising flyers in the mornings

and after school, so he could send the money he earned to his grandparents in Russia. Tatiana

Sterlingova Letter (Ex. B). After finishing at Per Brahegymnasiet, Roman moved away from

his parents and became a web designer in Gothenburg, Sweden. Even after he left home, Roman

continued helping his grandparents however he could. Id. Roman worked and resided in

Gothenburg until his arrest.

       A consistent thread through all the letters from friends and family attached to this motion

is how respectful, kind, and caring Roman is, and how willing he is to help others. See Tatiana

Sterlingova Letter (Ex. B) (“He [Roman] is a mindful and helpful son. He treats other people

with respect and understanding”); Letter from Josefin Kirsch (attached hereto as Exhibit F)

(Roman “has always shown respect to teachers, friends, as well as strangers” and “he is always



                                                5
          Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 6 of 23




just a call away when I have found myself in situations where I have needed love, guiding and

support.”); Letter from Tobias Suomalainen (attached hereto as Exhibit G) (“Roman is a good

person and a loyal friend.”).

         Another consistent thread is that Roman keeps his promises and is a man of his word.

See Letter from Alex Gustafsson (attached hereto as Exhibit H) (“Based on my personal

experience [of about 20 years knowing him], Roman is a trustworthy person who always keeps

his word.”); Letter from Elin Gustaffson (attached hereto as Exhibit I) (“Roman is a man of his

word. If he promises, you can be sure that he will keep his promise.”); Letter from Albin

Hofmeijer (attached hereto as Exhibit J) (“I have always had trust in Roman and he never failed

me.”).

         Of note, Roman has helped many others by founding a self-help group for men in

Gothenburg. “The group is about personal development and to become mature men.” Tobias

Suomalainen Letter (Ex. G). Roman’s friend, Albin Hofmeijer, explains:

         I have had a troubled childhood, not in the sense of getting my basic needs met but in
         the sense that my parents weren't always there for me and even when they were they
         were almost always distant in mind. Roman helped me a lot in this area and we used
         to have long talks late at night in the studio about how to heal the wounds inflicted in
         my childhood. He was always there for me when I needed someone to talk to and even
         though we don't always see eye to eye I would consider him one of if not the person
         that has had the greatest positive impact on my life.

         I have always had trust in Roman and he never failed me.

Albin Hofmeijer Letter (Ex. J); see also Letter from group member Carl Lindstrom (attached

as Exhibit K) (“Roman was a good listener and did his very best to help the other group

members”); accord Letter from Viktor Mardstrom (attached as Exhibit L) (“In many ways,

he’s helped me to become a better person by making me reflect on what I know and what I

don’t know, and on what’s really important in life.”)

         Plainly, there is much to admire in Roman Sterlingov.

                                                    6
           Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 7 of 23




        B. Mr. Sterlingov’s Family Ties to the United States

        Most of Roman’s larger family moved from Russia to Boston in the 1980s. Roman

maintains close ties with his Boston family, and they speak and visit each other often. See, e.g.,

Letter from Vera Koziakov, Roman’s Great-Aunt (attached hereto as Exhibit M) (“He [Roman]

always kept in touch with our family in the United States. We met with him in Sweden, and he

visits us when he comes to the USA.”); Alexander Koziakov Letter (Ex. C) (“I have known

Roman Sterlingov for most of my life. … Me and Roman have always stayed in contact

electronically and spoke on the phone often … when Roman would come to visit the US, we

spent time together and explored the Boston area.”).

        Roman’s Boston family is eager to do whatever they may to secure his release and

provide for and help Roman thereafter. In particular, Alexander Koziakov, Roman’s cousin,

offers to be Roman’s third-party custodian and offers a property he owns to secure Roman’s

release:

        If Your Honor releases him on bail, myself and my family will gladly provide for
        and help Roman. I have no doubt regarding his ability to comply with any
        conditions of release the court imposes. He is a man of his word and he has the
        support of his United States family members. I have previously offered and
        continue to offer to put Roman up at my home, or a potential rental if needed while
        his case is pending. I am also willing to post a property that I own to secure his bail.

        …[O]ur entire family is worried about him and we are a close family. Thank you
        for consider [sic] my letter and the letters of his other family member and friends
        who, like I do, love and support Roman. I am aware that the court will set conditions
        of release. I will make sure that I am fully cognizant of the conditions imposed by
        the court and will make sure that Roman complies with the conditions. Should
        Roman not comply with any condition; I will immediately notify Pretrial and the
        court and Ms. Shroff.

Alexander Koziakov Letter (Ex. C). 3 Mr. Sterlingov’s mother, Tatiana, also is willing to post


3
  The property Mr. Koziakov offers as security is a single-family home located at 1118 Lafayette Street, St.
Joseph, Missouri 64507. The home is titled to MassMo Real Estate, LLC (“MassMo”), but Mr. Koziakov
is the sole member of MassMo and its Managing Member. See Quit-Claim Deed to Missouri property;

                                                     7
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 8 of 23




her home in Sweden to secure Roman’s release. Tatiana Sterlingova Letter (Ex. B).

       C. The Allegations Against Mr. Sterlingov

       Mr. Sterlingov has been charged in a three -count Indictment.

       Count One alleges money laundering, in violation of 18 U.S.C. § 1956(a)(3)(A), (B).

That count is based on a single transaction. Specifically, on November 21, 2019, an operator

the government contends was Mr. Sterlingov allegedly moved approximately 0.01146764

bitcoin (BTC) from Bitcoin Fog (hereafter “BTCF”) to a government controlled undercover

electronic wallet.

       Count Two alleges that BTCF is a money transmitting business being operated without

proper license, in violation of 18 U.S.C. § 1960(a).

       Count Three alleges that Mr. Sterlingov transmitted money through BTCF without a

D.C. license, in violation of D.C. Code § 26-1023(c).

       The government also seeks the forfeiture of any real or personal property involved in

the offense, or traceable thereto, pursuant to 18 U.S.C. § 982(a)(1) and 21 U.S.C. § 853(p).

       D. The Magistrate Judge’s Detention Order

       Magistrate Judge Abrams terse Detention Order (Ex. A hereto) is instructive. There was

no finding that Mr. Sterlingov poses a danger to any person or community; indeed, the

government did not even contend Mr. Sterlingov would be a danger if released. See Detention

Order at 1. The only reason alleged for pretrial detention was risk of flight. Id. at 2.

       The Magistrate Judge held there was a serious risk of flight based on four findings:

           (1) defendant is not a U.S. citizen; (2) insufficient ties to US to reasonably
           assure defendant’s appearance; (3) inadequate bail resources proffered; and
           (4) alleged access to and use of false identification, including possession of

Formation document for MassMo; and MassMo operating Agreement (collectively attached hereto as
Exhibit N).


                                                 8
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 9 of 23




            multiple passports at time of arrest.

Detention Order (Ex. A) at 3.

        Finally, the Detention Order merely checks the box that states, “The Court finds that no

condition or combination of conditions will reasonably assure: the appearance of defendant as

required.” Detention Order (Ex. A) at 2.        Magistrate Judge Abrams does not state what

condition(s) he considered, if any, before checking that box, or why he considered any of those

conditions to be inadequate for reasonably assuring Mr. Sterlingov’s future appearances in

court. Id. at 1-4.

                                          ARGUMENT
THE DETENTION ORDER SHOULD BE REVOKED BECAUSE THE GOVERNMENT
 FAILS TO MEET ITS BURDEN OF PROVING, BY A PREPONDERANCE OF THE
   EVIDENCE, THAT MR. STERLINGOV POSES SUCH A SERIOUS RISK OF
     FLIGHT THAT NO CONDITIONS SHORT OF PRETRIAL DETENTION
     CAN REASONABLY ASSURE HIS FUTURE APPEARANCES IN COURT


I.      THE APPLICABLE LEGAL STANDARD AND THE PRESUMPTION IN
        FAVOR OF BAIL

        Incarceration before trial “substantially impacts the quality of the[] defense” and

“increase[s] the likelihood that the detainee will be convicted, imprisoned, and subjected to

prolonged deprivation of liberty, privacy, and other fundamental elements of human existence.”

Samuel R. Wiseman, “Pretrial Detention and the Right to be Monitored,” 123 YALE L. J. 1344

(2014). Accordingly, ‘[o]ur system of criminal justice embraces a strong presumption against

detention." United States v. Hanson, 613 F. Supp. 2d 85, 87 (D.D.C. 2009) (emphasis added). “In our

society liberty is the norm, and detention prior to trial or without trial is the carefully limited

exception.” United States v. Salerno, 481 U.S. 739, 755 (1987); United States v. Munchel, 991

F.3d 1273, 1279 (D.C. Cir. 2021) (same). Courts should refuse to release defendants on bail

“[o]nly in rare circumstances,” and “only for the strongest of reasons.” United States v. Motamedi,


                                                    9
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 10 of 23




767 F.2d 1403, 1405, 1406 (9th Cir. 1985) (Kennedy, J.). Any “[d]oubts regarding the propriety

of release should be resolved in favor of the defendant.” Id. at 1405.

        Consistent with these principles, the presumption of innocence afforded to every

defendant, and the Eighth Amendment prohibition against excessive bail, the Bail Reform Act of

1984 provides that a defendant should be released pending trial on personal recognizance or

“subject to the least restrictive further conditions, or combination of conditions that . . . will

reasonably assure [1] the appearance of the person as required and [2] the safety of any other

person and the community.” 18 U.S.C. § 3142(b) and (c)(1)(B). “In common parlance, the

relevant inquiry is whether the defendant is a ‘flight risk’ or a ‘danger to the community.’” United

States v. Vasquez-Benitez, 919 F.3d 546, 540 (D.C. Cir. 2019).

        Here, Mr. Sterlingov – who is not accused of violence and has no criminal history – poses

no danger to the community if released. See, e.g., Magistrate Order of Detention (Ex. A) at 3

(ordering detention on flight risk alone). Therefore, the only issue before the Court is whether Mr.

Sterlingov is a serious flight risk.

        As the Bail Reform Act “generally favors bail release, the government carries a dual burden

in seeking pretrial detention” based on flight risk. United States v. Sabhnani, 493 F.3d 63, 75 (2d

Cir. 2007). First, the government must prove by a preponderance of the evidence that Mr.

Sterlingov poses a serious risk of flight. See 18 U.S.C. § 3142(f)(2)(A); United States v. Simpkins,

826 F.2d 94, 96 (D.C. Cir. 1987). Second, if the government makes such a showing, it must then

show, again by a preponderance of the evidence, that no conditions of release will reasonably

assure Mr. Sterlingov's appearance. See 18 U.S.C. § 3142(e); Sabhnani, 493 F.3d at 75; Simpkins,

826 F.2d at 96; United States v. Berrios-Berrios, 791 F.2d 246, 250 (2d Cir. 1986) (emphasizing

that the “requirement that courts expressly consider alternative conditions is central to the Bail



                                                10
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 11 of 23




Reform Act”).

         When conducting its inquiry to ensure the “flight risk” is so serious detention is required,

the Court must consider the factors enumerated in 18 U.S.C. § 3142(g), including [1] the nature

and circumstances of the offense charged, [2] the weight of evidence against the defendant, and

[3] the history and characteristics of the defendant. See 18 U.S.C. § 3142(g); Sabhnani, 493 F.3d

at 75.

         Because pretrial detention is truly a last resort, a court faced with the issue must “make

explicit their findings with regard to the adequacy [or inadequacy] of possible conditions for

release.” United States v. Coonan, 826 F.2d 1180, 1186 (2d Cir. 1987). “Whatever the district

court ultimately decides, it should explicate the reasons underlying its conclusion.” Berrios-

Berrios, 791 F.2d at 253.

         The Court applies a de novo standard of review to the Magistrate Judge’s detention order.

See United States v. Hubbard, 962 F.Supp.2d 212, 215 (D.D.C. 2013) (citing United States v.

Sheffield, 799 F.Supp.2d 18, 19-20 (D.D.C. 2011)); see also United States v. Koenig, 912 F.2d

1190, 1192-1193 (9th Cir. 1992) (in reviewing magistrate’s detention order, a district court “should

review the evidence before the magistrate and make its own independent determination whether

the magistrate's findings are correct, with no deference”).

         Applying these legal standards, the government has not met its burden of proving that only

detention will reasonably assure Mr. Sterlingov’s future appearances in this matter.

II.      MR. STERLINGOV SHOULD BE RELEASED ON BAIL BECAUSE HE DOES
         NOT POSE A SERIOUS RISK OF FLIGHT AND HIS APPEARANCE IN
         COURT IS REASONABLY ASSURED

         The necessity of pretrial release – and the appropriateness of same – is underscored in a

prosecution, such as the one here, that raises novel questions of law and fact. As the government

acknowledged in unsuccessfully opposing release in the Larry Harmon case, discussed supra, the

                                                  11
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 12 of 23




government’s newly attempted prosecution of bitcoin mixers involves a “combination of unusual

elements – including the Darknet, Tor, and bitcoin – [that] will undoubtedly raise issues of first

impression and require specialized analysis and preparation for trial.” 1:19-CR-395- BAH [ECF

Docket No. 11 at p. 6]. Here, Mr. Sterlingov’s specialized knowledge is key to the review of

voluminous discovery in this matter, and he will be drastically hampered in helping prepare his

own defense if he remains behind bars. Further, the pretrial phase in this matter likely will be

sufficiently protracted that continued detention will raise due process concerns. See, e.g., United

States v. Khashoggi, 717 F. Supp. 1048, 1051 (S.D.N.Y. 1989) (“traditional notions of cannot

countenance protracted pretrial detention of an individual presumed innocent”); United States v.

Ailemen, 165 F.R.D. 571, 601 (N.D. Cal. 1996) (same).

       A. Mr. Sterlingov’s History and Characteristics Strongly Support His Release

       As shown in the twelve letters of support from family and friends accompanying this

Motion (Exs. B-M), Mr. Sterlingov is a well-loved young man of 32 with no criminal history, close

family ties in the United States, and an admirable history of kindness, good works, and keeping

his promises. See Statement of Facts, Points A and B. His law-abiding history and personal

characteristics militate against any flight risk and strongly supports pretrial release as both show

he will abide by any conditions imposed and will appear in court as needed in this matter. See,

e.g., United States v. Chimurenga, 760 F.2d 400, 402 (2d Cir. 1985) (upholding trial court's finding

that defendant was not a flight risk, despite strong evidence of involvement in armed robbery,

where defendant had no criminal record and was in school).

       B. The Nature and Circumstances of the Offense Charged, and the Lack of Non-
          Circumstantial Evidence Against Mr. Sterlingov Strongly Support His Release

       Likewise, both the nature of the charges and the (lack of) evidence strongly support Mr.

Sterlingov’s release before trial. Mr. Sterlingov has every incentive to return to court and defend


                                                12
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 13 of 23




himself against the government’s uncertain allegations.

        As to the nature of the charges, it is undisputed that “mixing” or “tumbling” is not per se

illegal. Nor is protecting one’s personal and financial privacy on the Internet. 4 Among other things,

Mr. Sterlingov will hold the government to its burden of proving each of facts that it must prove

beyond a reasonable doubt, including that Mr. Sterlingov possessed the requisite intent required

for money laundering and that BTCF fits the statutory definition of a “money transmitter” and

required a D.C. license.

        As to the weight of the government’s evidence, this factor supports Mr. Sterlingov’s release

from detention because the government’s case is entirely circumstantial and the government has

provided little to support its allegations of wrongdoing by Mr. Sterlingov. 5 Certainly, this case is

far from those cases where the weight of evidence is so overwhelmingly against the defendant that

a reasonable presumption exists that he or she would rather flee than face an inevitable conviction.

Cf. United States v. Jackson, 823 F.2d 4, 6 (2d Cir. 1987) (overwhelming evidence from nine

different confidential sources to support allegations, including first-hand testimony of defendant's

involvement in heroin deals); United States v. Duncan, 897 F. Supp. 688, 692 (N.D.N.Y. 1995)

(five confidential informants willing to testify that defendant supplied, received, packaged,

prepared, and sold cocaine in various forms for at least two years). Here, no such overwhelming

evidence exists, and Mr. Sterlingov, who is considered innocent until proven otherwise, intends to

vigorously contest the charges against him.


4
  For example, the Tor network’s design and purpose is to protect a user’s privacy and personally
identifiable information (PII) by keeping their Internet communications and activity unmonitored. See
https://en.wikipedia.org/wiki/Tor_(anonymity_network).
5
 Because of the presumption of innocence, courts have identified “weight of the evidence” as the “least
important” of the detention factors. See, e.g., United States v. Townsend, 897 F.2d 989, 994 (9th Cir. 1990)
(“The weight of the evidence against the defendant is a factor to be considered but it is ‘the least important’
of the various factors” (quoting Motamedi, 767 F.2d at 1408)).


                                                      13
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 14 of 23




        Importantly, the charges at issue have no mandatory minimum and, in opposing release,

the government improperly inflates the gravity of the claimed offenses, and with it the advisory

guidelines range 6 by giving itself the benefit of every doubt. For example, as to money laundering,

the government simply assumes it will be able to prove that Mr. Sterlingov was personally involved

in the November 21, 2019 transaction at issue; that he knew the funds in the transaction were

proceeds of, or intended to promote, drug offenses; and that he was in the business of money

laundering. The government then continues its assumption by applying corresponding increases

under the U.S.S.G. to get to a higher offense level, without applying any potential decreases (e.g.,

acceptance of responsibility). The government also fails to inform the Court that the approximate

value of the BTC that was moved in the November 21, 2019 transaction at issue was just $89.83. 7

        Similarly, regarding the money transmitter counts, the government simply assumes it will

be able to prove that BTCF was a money transmitting business that required a D.C. operating

license; that it will be able to prove that more than $250MM was transmitted by BTCF; and, again,

that Mr. Sterlingov knew the funds transmitted were proceeds of, or intended to promote drug

offenses, and that he was in the business of money laundering. Once again, the government applies

potential U.S.S.G. increases but ignores decreases.


6
  The Court should bear in mind, even if the government chooses not to, that the advisory Guidelines range
is one of multiple sentencing factors and “are just that, guidelines [...] they truly are advisory.” United States
v. Douglas, 713 F.3d 694, 700 (2d Cir. 2013). This Court “may not presume that the Guidelines range is
reasonable,” but rather “must make an individualized assessment based on the facts presented,” Gall v.
United States, 552 U.S. 38, 50 (2007), and consider “all the [sentencing] factors listed in § 3553(a),” not
just the Guidelines range. Pepper v. United States, 562 U.S. 476, 490 (2011). Given the lack of criminal
history here, Mr. Sterlingov’s admirable personal history, and the novel nature of the prosecution, there is
no reason for the government – or Mr. Sterlingov – to presume or anticipate that the Court will impose a
guidelines sentence, should Mr. Sterlingov even be convicted.
7
  See Yahoo BTC-USD Daily tracker, available at https://finance.yahoo.com/quote/BTC-USD/history/
(showing that, on 11/21/2019, BTC opened at $8,023.64, with a high of $8110.10, a low of $7, 597.38, and
a close of $7,642.75); see also https://changelly.com/blog/bitcoin-btc-price-history-in-2019 (“On
November 21, the price of Bitcoin again fell below $8,000”). The average between the opening and closing
price on 11/21/2019 is $7,833.195. In turn, $7,833.195 x 0.01146764 = $89.83.


                                                       14
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 15 of 23




        It is beyond cavil that all these government assumptions must be proven by the government

beyond a reasonable doubt and are readily challengeable by the defense. In this regard, while the

government urges the Court to weigh the issue of bail as if every bitcoin transaction on BTCF is

provably illicit, it is telling that the government has indicted Mr. Sterlingov on a single transaction.

Even as to that single transaction, the government contends, but has not shown, that it was

conducted by, or known to, Mr. Sterlingov. Given the many readily apparent flaws in the

government’s case, the government’s raw speculation that Mr. Sterlingov would rather live the

rest of his life as a wanted fugitive, rather than remain and hold the government to its proof, is

unpersuasive and does not support pretrial detention.

        In any event, in finding a serious risk of flight, more is needed than the mere potential for

a long sentence. See United States v. Friedman, 837 F.2d 48, 49 (2d Cir. 1988) (per curiam).

Evidence supporting a finding of a serious flight risk includes skill in avoiding surveillance, prior

flight from law enforcement, and use of aliases. Id. None of these risk factors are present here; Mr.

Sterlingov came to this country openly and under his own name, has never fled or tried to

circumvent court orders, and possesses skills relevant to the virtual world, but not the real world.

        To flee, Mr. Sterlingov would have to do far more than get on his computer. He, a person

with no criminal history, would have to break home confinement under the nose of his third-party

custodian, all while evading government monitoring of his ankle monitor and the U.S. border. He

would be impoverishing any sureties – including his mother Tatiana and cousin Alexander – who,

in an act of trust and good faith, have agreed to post their real estate as security and be jointly and

severally liable on a bond. And Mr. Sterlingov would be doing all this to avoid fighting charges of

non-violent crimes that include no mandatory minimums and to which he has reasonable defenses.

This makes no sense. Mr. Sterlingov is not a flight risk of any kind, let alone a serious one. Instead,



                                                  15
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 16 of 23




he has every incentive to continue to appear in court and fight the charges against him. Thus, the

charged offenses do not require Mr. Sterlingov’s pretrial detention.

        Clinching the matter, the Court may easily set conditions that address any serious flight

risk. The standard is not, as the government would have it, a 100 percent certainty. The Bail

Reform Act merely requires conditions that ameliorate the risk of flight and “reasonably assure” a

defendant’s return to court. See 18 U.S.C. § 3142(b) and (c)(1)(B); United States v. Madoff, 586

F.Supp.2d 240, 249 (S.D.N.Y. 2009) (Bail Reform Act “does not require that the risk be zero, but

that conditions imposed ‘reasonably assure’ appearance”). Here, the Court readily may set a bail

package that features a series of meaningful bail conditions that will deter any serious flight risk

and reasonably assure Mr. Sterlingov’s return to court. Just as in Larry Harmon, discussed supra,

Mr. Sterlingov’s release can be conditioned on home detention, location monitoring, travel

restrictions, computer restrictions, internet restrictions, and prohibitions on opening new financial

accounts or making cryptocurrency transactions. 1:19-CR-395-BAH [ECF Docket Nos. 20 and

21]. The government cannot persuasively contend that these thoughtful conditions, together with

any other the government or the Court may suggest, will be insufficient to reasonably assure Mr.

Sterlingov’s return to court.

        C. The Magistrate Judge’s Order is Flawed and Unpersuasive and Should Be
           Rejected by the Court on De Novo Review

        The government’s “flight risk” analysis – which was misguidedly accepted by the

Magistrate Judge in his Detention Order – essentially begins and ends with the fact that Mr.

Sterlingov “is not a U.S. citizen” with “insufficient ties to US to reasonably assure defendant’s

appearance.” Magistrate Judge’s Order of Detention (Ex. A) at 3. 8 The Magistrate Court erred,


8
 The Magistrate Judge also found that “inadequate bail resources [were] proffered” and that Mr. Sterlingov
has “alleged access to and use of false identification, including possession of multiple passports at time
of arrest.” Magistrate Judge’s Order of Detention (Ex. A) at 3 (emphasis added). These concerns are readily

                                                    16
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 17 of 23




however, by materially undervaluing the strength of Mr. Sterlingov’s family ties in this country.

Roman is very close to his Boston-based family, and they are willing to post bail and be his third-

party custodians upon release. See Statement of Facts, Points A and B. The Magistrate Judge also

erred by materially overemphasizing the risk posed by Mr. Sterlingov residing outside the U.S.

        In asserting that being a Russian and Swedish citizen makes Mr. Sterlingov a serious flight

risk, the government ignores both the difficulty of travel because of the pandemic and that Mr.

Sterlingov has surrendered his passports. The government apparently contends that Mr. Sterlingov,

if released from custody, will buy fake travel documents, and then avoid passport and border

controls to flee the jurisdiction and become a fugitive. As Judge Tanya Chutkan reasoned in United

States v. Naik, 1:19-cr-00373-TSC (D.C. Cir.), discussed below, such an attenuated and highly

speculative concern does not require incarceration, but the setting of appropriate bail conditions.

See also Larry Harmon, supra (this Court addressing the government’s flight concern by imposing

a range of bail conditions, including home confinement, electronic and physical monitoring, travel




dealt with and should not deter Mr. Sterlingov’s release.

As to bail resources, the Court now has before it offers to secure Mr. Sterlingov’s bail with two homes.
Alexander Koziakov (Roman’s cousin) has offered to post a home he owns in St. Joseph, Missouri to secure
bail (see Exs. C and N); Tatiana Sterlingova (Roman’s mother) has offered to post her home in Sweden to
secure bail (see Ex. B). Hence, the Court should find that bail resources is no longer a material issue
preventing Mr. Sterlingov’s release.

As to the allegation of false identification, the only actual “proof” apparently offered by the government to
the Magistrate Judge in support of this allegation (as opposed to pure supposition) is that Mr. Sterlingov
“possess[ed] multiple passports at time of arrest.” Detention Order (Ex. A) at 3. At the time of his arrest
Mr. Sterlingov had four passports – two Russian and two Swedish. But that fact does not support or prove
risk of flight in any way. All four passports were in Mr. Sterlingov’s name, and there is nothing false or
untoward about him traveling with those passports. Russia issues both a “domestic” and an “international
travel” passport to all its citizens. See, e.g., “Why do Russians have 2 passports,” available at
https://www.rbth.com/lifestyle/328576-why-russians-have-2-passports. Likewise, a Swedish citizen may
hold two valid Swedish passports at the same time, if needed for work or other special reasons. See Passport
Ordinance (1979:664) at § 14 (attached hereto as Exhibit O). One acceptable “special reason” is the reason
why Mr. Sterlingov had two Swedish passports: to be able to vacation in both Israel and Arab countries.
Several Arab states reject passports that contain an Israeli entry stamp or visa.


                                                     17
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 18 of 23




restrictions, computer restrictions, internet restrictions, and prohibitions on opening new financial

accounts or making cryptocurrency transactions).

        In Naik, the government appealed a magistrate judge’s ruling allowing pretrial release of

Mr. Naik, a foreign citizen charged with child pornography offenses that carried a mandatory

minimum sentence. The government argued that, if released from custody, Mr. Naik could easily

go to the consulate for Afghanistan, get a new passport, and flee. In rejecting the government’s

argument and upholding the decision of the Magistrate Judge, District Judge Chutkan reasonably

resolved the government’s purported concern by requiring that Mr. Naik be accompanied by a

third-party custodian and only leave the home to appear in Court. Judge Chutkan also added the

condition that the defendant not apply for any international travel documents and not visit any

consulate. The docket sheet in the Naik case proves the efficacy of these conditions. See Exhibit

P (Naik Docket Sheet). Mr. Naik did not visit any consulate, appeared for trial, was convicted, and

a motion to set aside his conviction notwithstanding the verdict was granted. If the Court deems it

necessary, Mr. Sterlingov is ready to be subjected to restrictions like those ordered in Naik and

Larry Harmon as a condition of his release. 9 Specifically, Alexander Koziakov, Mr. Sterlingov’s

cousin and a U.S. citizen who has lived in Boston his entire life, has agreed to be the third-party

custodian here and welcome Mr. Sterlingov into his Boston home. See Alexander Koziakov Letter

(Ex. C) at 1. Mr. Koziakov “will make sure [Mr. Sterlingov is] fully cognizant of the conditions

imposed by the court and will make sure that Roman complies with the conditions.” Id. at 2.

        The government is fully able to monitor and regulate entry and egress from the United


9
  Courts have found that GPS monitoring and home confinement can ensure attendance in court even for
those charged with serious crimes. See, e.g., "Former IMF chief Dominique Strauss-Kahn granted bail,"
May 20, 2011, available at http://goo.gl/oYgRM9, where Strauss-Kahn, who was charged with rape and
had the means and connections to flee; was released on bail terms that included electronic monitoring and
home confinement.


                                                   18
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 19 of 23




States and flag Mr. Sterlingov should he attempt to leave the United States – just as the government

did when he entered the United States prior to his arrest. In this regard, the government adduces

no evidence (because none exists) that Mr. Sterlingov has any skill or experience in travelling

under a false name or otherwise evading border controls. See, e.g., Friedman, 837 F.2d at 49 (per

curiam) (finding such skills and experience material in assessing serious flight risk).

       Many courts have not hesitated to reject the government’s base contention here – that

having ties to, and money in, another country automatically makes a defendant such a serious flight

risk that he or she must be detained pretrial. See, e.g., Naik, discussed supra; United States v.

Marinez-Patino, 2011 WL 902466, *6 (N.D. Ill. March 14, 2011) (“it is the risk that a defendant

will flee, and not just his immigration status, that a court must consider under Section 3142(d)”).

       In United States v. Karni, 298 F. Supp. 2d 129 (D.D.C. 2004), defendant was alleged to

have violated the Export Administration Act and IEEPA by acquiring nuclear triggers and

exporting them to Pakistan. Defendant was an Israeli national who had resided in South Africa for

the 18 years preceding his arrest and had “no ties to the United States or the Washington, D.C.

area” of any kind. Indeed, he “was only in this country in order to participate in a ski vacation with

his wife and daughter.” Although “the weight of the evidence against Defendant is substantial,”

the Court found that none of the foregoing justified pretrial detention under the Bail Reform Act.

The same conclusion is called for here.

       In United States v. Hansen, 108 F. App’x 331 (6th Cir. 2004), the Sixth Circuit Court of

Appeals affirmed the district court’s order of pretrial release, even though the defendant, charged

with bulk cash smuggling and forfeiture, was a resident and citizen of Denmark, a non-extradition

country. The Court of Appeals noted that the “bail statute does not ... require that foreign

defendants be detained simply because their return cannot be guaranteed through extradition.”



                                                 19
         Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 20 of 23




        In United States v. David Sidoo, 19-cr-10080-NMG, Dkt. 13 (D. Mass), the district court

ordered the release of defendant, a citizen of Canada charged with conspiracy to commit wire

fraud, honest services fraud, and money laundering. The defendant, who had no status in the United

States, was permitted to reside in his home in Canada during the pendency of his United States

criminal case.

        In United States v. Ng, 15 Cr. 706 (VSB) (S.D.N.Y), the district court granted bail to

defendant Ng who had no ties to the United States; was not a citizen; did not speak English; had

seemingly endless wealth with which to flee; and was an older man, for whom a 20-year sentence

could effectively be a life sentence. 10

        As these cases demonstrate, that Mr. Sterlingov lives outside the United States does not

ipso facto create a serious risk of flight or justify his pretrial detention, particularly given all the

other facts discussed above supporting his future appearances in court upon release. For all those

reasons, Mr. Sterlingov is not a serious flight risk if released pending trial.

III.    IN ANY EVENT, BAIL CONDITIONS READILY EXIST THAT WILL
        DETER ANY SERIOUS FLIGHT RISK AND REASONABLY ASSURE MR.
        STERLINGOV’S RETURN TO COURT

        The Magistrate Judge should have, but did not, “make explicit [his] findings with regard


10
  See also United States v. Sabhnani, 493 F.3d 63 (2d Cir. 2007) (reversing district court order of detention
of defendants, who were natives of Indonesia, and ordering their release despite finding (i) defendants’
“strong motive to flee” because of serious charges of human slavery and “strong” evidence of guilt; (ii)
defendants faced a “lengthy term of incarceration” if convicted; (iii) defendants possessed “ample means
to finance flight;” (iv) defendants “maintained strong family ties to their native countries as well as personal
and professional ties to various locations in Europe and the Middle East;” and (v) defendants “could, with
relatively little disruption, continue to operate their highly lucrative business from any number of overseas
locations”); United States v. Hanson, 613 F. Supp. 2d 85 (D.D.C. 2009) (ordering release of defendant,
who, while a naturalized citizen of the United States, had “strong ties to [her home country of] China,”
including owning property in China, spending almost all ten years of her marriage living abroad with her
husband, and spending only 22 days in the United States in 2008. The Court also acknowledged that the
charges against the defendant “were serious and carried a potential for a significant period of incarceration”
and that the “government has strong evidence against” the defendant “including her own statement to
investigators that she smuggled the UAV autopilot components out of the United States and knew there
were licensing requirements for such items” under IEEPA.).


                                                      20
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 21 of 23




to the adequacy of possible conditions for release” (Coonan, 826 F.2d at 1186) or “explicate the

reasons underlying [his] conclusion,” Berrios-Berrios, 791 F.2d at 253. The Court should correct

this error as part of its de novo review of the instant Detention Order. Further, it is respectfully

submitted that, after reviewing the matter, the Court will recognize and determine that rigorous

bail conditions exist short of detention that are sufficient to mitigate any purported flight risk and

reasonably assure Mr. Sterlingov’s appearance in court. For this additional independent reason,

the Court should revoke revoked the Detention Order in favor of a comprehensive set of restrictive

conditions.

       As part of its de novo review of a detention order, this Court is required “promptly to

examine de novo whether there are conditions of release that will reasonably assure the safety of

any other person and the community.” Hubbard, 962 F.Supp.2d at 215 (internal citations omitted).

Here, Pretrial Services’ High Intensity Supervision Program (“HISP”) renders Mr. Sterlingov’s

continued pretrial detention inappropriate under the Bail Reform Act. See, e.g., United States v.

Dabney, 2020 U.S. Dist. LEXIS 67127, *10-13 (D.D.C. 2020) (changing pretrial detention to

release under Pretrial Services Agency's High Intensity Supervision Program, with electronic

monitoring, condition of permanent home confinement, and all the other “rules, regulations, and

requirements of the [HISP] Program that are listed in the orientation contract, which is

incorporated herein by reference”); Larry Harmon, 1:19-CR-395- BAH (same).

       HISP is a comprehensive program of electronic monitoring, supervision, and intensive case

management for higher risk defendants. Https://www.psa.gov/sites/default/files/Brochure%20-

%20HISP%207.7.17%20-%20Ready%20for%20Print.pdf.                 Under    HISP,    Pretrial   Services

provides increased monitoring and a variety of other measures “to promote compliance with

supervision conditions,” including (i) weekly in-person contact with a Pretrial Services Officer; (ii)



                                                 21
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 22 of 23




at least weekly drug testing; (iii) electronic location monitoring; (iv) home confinement or curfew;

and (v) weekly reports to the Court on program compliance. Id. Under the watchful eyes of a third-

party custodian and with electronic GPS monitoring and physical monitoring by Pretrial Services,

there is no bona fide serious risk of flight. Any claim otherwise is pure speculation.

       If the government truly fears this unlikely situation, it may ask the Court to impose

conditions that reasonably ameliorates any such concern. Indeed, Mr. Sterlingov does not object

to the Court imposing any of the following additional bail conditions, which were previously used

successfully in United States v. Naik, 19 Cr. 373 (TSC), and United States v. Larry Harmon, 1:19-

CR-395- BAH, discussed supra:

       •    Mr. Sterlingov may only leave home confinement when accompanied by a third-
            party custodian;

       •    Mr. Sterlingov is to refrain from contacting or entering a consulate or embassy to
            obtain a passport, visa, or any other travel document;

       •    Mr. Sterlingov is to refrain from any internet access to any consulate and must allow
            Pretrial Services permission to monitor internet use and browser history.

       •    Mr. Sterlingov is to refrain from accessing the Internet or going online;

       •    Mr. Sterlingov is prohibited from opening new financial accounts or making
            cryptocurrency transactions.

                                         CONCLUSION

       For the foregoing reasons, the Court should (i) revoke the detention order imposed on Mr.

Sterlingov; (ii) order him released with appropriate bail conditions; and (ii) grant him such other

and further relief as the Court deems just and proper.

Dated: New York, New York
       September 8, 2021                      Respectfully submitted,

                                              / s / Sabrina P. Shroff
                                              Counsel for Mr. Roman Sterlingov



                                                 22
        Case 1:21-cr-00399-RDM Document 17 Filed 09/13/21 Page 23 of 23




SPS/
Exhibits A-P

cc: All counsel of record (by ECF)




                                      23
